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 Fill in this information to identify the case:
 Debtor name        1917 Heights Hospital, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number        21-31811                                                                                              Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional          unliquidated,   secured, fill in total claim amount and
                                contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Carrier Rental Systems                             Unsecured                                                                $217,073.43
    35961 Eagle Way


    Chicago, IL 60678

2   TXU Energy                                         Unsecured                                                                $199,382.87
    P. O. Box 650638


    Dallas, TX 75265-0638

3   Sabre Electric Company                             Unsecured                                                                $166,243.21
    P. O. Box 79292


    Houston, TX 77279

4   HCSG Staff Leasing                                 Unsecured                                                                $101,790.15
    Solutions, LLC
    3220 Tillman Drive, Suite
    300



5   Entech Sales & Service,                            Unsecured                                                                  $90,446.95
    LLC
    3404 Garden Brook Drive


    Dallas, TX 75234-2444




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Debtor       1917 Heights Hospital, LLC                                           Case number (if known) 21-31811
             Name


 Name of creditor and           Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
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                                                      government                            calculate unsecured claim.
                                                      contracts)
                                                                                            Total           Deduction       Unsecured
                                                                                            claim, if       for value       claim
                                                                                            partially       of
                                                                                            secured         collateral
                                                                                                            or setoff
6   Johnson Controls Fire                             Unsecured                                                                  $69,523.96
    Protection, LP
    4700 Exchange Court,
    Suite 300



7   Thyssen Krupp Elevator                            Unsecured                                                                  $59,666.18
    Corp.
    P. O. Box 933004


    Atlanta, GA 31193-3004
8   ETS Environmental                                 Unsecured                                                                  $38,039.05
    Testing Services, LLC
    10908 Metronome Drive


    Houston, TX 77043
9   Airgas USA, LLC                                   Unsecured                                                                  $33,662.91
    P. O. Box 676015


    Dallas, TX 75267-6015

10 City of Houston - Utility                          Unsecured                                                                  $31,558.48
   Bill
   P. O. Box 1560


    Houston, TX 77251-
11 The Hanover Insurance                              Unsecured                                                                  $24,077.82
   Group
   P. O. Box 580045


    Charlotte, NC 28258-
12 CenterPoint Energy                                 Unsecured                                                                  $21,896.76
   P. O. Box 4981


    Houston, TX 77210-
    4981
13 WCA Waste Systems,                                 Unsecured                                                                   $7,740.55
   Inc.
   1330 Post Oak Blvd., 7th
   Floor




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                                                      government                            calculate unsecured claim.
                                                      contracts)
                                                                                            Total           Deduction       Unsecured
                                                                                            claim, if       for value       claim
                                                                                            partially       of
                                                                                            secured         collateral
                                                                                                            or setoff
14 Wilson Fire Equipment &                            Unsecured                                                                   $7,531.41
   Service Company,
   7303 Empire Central
   Drive



15 Chem-Aqua, Inc.                                    Unsecured                                                                   $6,112.40
   P. O. Box 971269


    Dallas, TX 75397-1269

16 AT&T Wireless                                      Unsecured                                                                   $5,914.24
   P. O. Box 105414


    Atlanta, GA 30348-5414

17 LEI Grounds                                        Unsecured                                                                   $5,108.60
   Groomers/Lightfoot Ent.,
   Inc
   P. O. Box 267



18 Kings III of America                               Unsecured                                                                   $5,061.99
   751 Canyon Drive, Suite
   100


    Coppell, TX 75019-3857
19 Mueller Water                                      Unsecured                                                                   $4,990.00
   Conditioning, Inc.
   P. O. Box 975118


    Dallas, TX 75397-5118
20 Facilities Survey, Inc.                            Unsecured                                                                   $4,214.52
   400 Penn Center
   Boulevard
   Suite 552

    Pittsburgh, PA 15235




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